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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                       June 24, 2024
                           UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIMINAL NO. 4:22-CR-402-2
                                                §
IFEANYI NDUBISI OZOH                            §

                            ORDER RESETTING SENTENCING

       IT IS HEREBY ORDERED that this matter (previously set for June 25, 2024) is hereby

reset for sentencing on August 20, 2024, at 2:00 p.m. before the Honorable Randy Crane, in

Courtroom 11-C, Eleventh Floor, United States Courthouse, 515 Rusk Avenue, Houston, Texas.

       IT IS FURTHER ORDERED that the defendant’s objections to the Presentence

Investigation Report shall be due no later than August 13, 2024.

       The Clerk shall send a copy of this Order to all counsel of record.

        SO ORDERED June 24, 2024, at McAllen, Texas.


                                                      ______________________________
                                                      Randy Crane
                                                      Chief United States District Judge




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